          Case 5:24-cv-03811-EKL             Document 182        Filed 08/01/24      Page 1 of 28




     OPPENHEIM + ZEBRAK, LLP                           COBLENTZ PATCH DUFFY & BASS, LLP
 1   Matthew J. Oppenheim                              Jeffrey G. Knowles (SBN 129754)
 2   Nicholas C. Hailey                                One Montgomery Street, Suite 3000
     Audrey L. Adu-Appiah                              San Francisco, CA 94104
 3   (admitted pro hac vice)                           Telephone: (415) 772-5795
     4530 Wisconsin Ave., NW, 5th Floor                ef-jgk@cpdb.com
 4   Washington, DC 20016
     Telephone: (202) 480-2999                         COWAN, LIEBOWITZ & LATMAN, P.C.
 5
     matt@oandzlaw.com                                 Richard S. Mandel
 6   nick@oandzlaw.com                                 Jonathan Z. King
     aadu-appiah@oandzlaw.com                          Richard Dannay
 7                                                     (admitted pro hac vice)
     Jennifer Pariser                                  114 West 47th Street
 8   Andrew Guerra                                     New York, NY 10036-1525
     Timothy Chung                                     Telephone: (212) 790-9200
 9
     (admitted pro hac vice)                           rsm@cll.com
10   461 5th Avenue, 19th Floor                        jzk@cll.com
     New York, NY 10017                                rxd@cll.com
11   Telephone: (212) 951-1156
     jpariser@oandzlaw.com
12   andrew@oandzlaw.com
     tchung@oandzlaw.com
13

14   Attorneys for Plaintiffs

15                                UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17                                     SAN FRANCISCO DIVISION

18

19   CONCORD MUSIC GROUP, INC., ET AL.,                  Case Number: 3:24-cv-03811-JSC

20         Plaintiffs,                                   DECLARATION OF MICHAEL D.
           v.                                            SMITH IN SUPPORT OF PLAINTIFFS’
21                                                       MOTION FOR PRELIMINARY
22   ANTHROPIC PBC,                                      INJUNCTION

           Defendant.                                    Hon. Jacqueline Scott Corley
23

24

25

26

27

28
                                                                                 Case No. 3:24-cv-03811-JSC
                         DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
            Case 5:24-cv-03811-EKL         Document 182        Filed 08/01/24      Page 2 of 28




 1          I, Michael D. Smith, hereby declare pursuant to 28 U.S.C. § 1746:

 2          1.     I am the J. Erik Jonsson Professor of Information Technology and Marketing at

 3 Carnegie Mellon University’s Heinz College of Information Systems Management and Public

 4 Policy Management.

 5          2.     I submit this declaration in connection with Plaintiffs’ renewed Motion for a

 6 Preliminary Injunction filed by Plaintiffs Concord Music Group, Inc., Capitol CMG, Inc.,

 7 Universal Music Corp., Songs of Universal, Inc., Universal Music – MGB NA LLC, Polygram

 8 Publishing, Inc., Universal Music – Z Tunes LLC, and ABKCO Music, Inc. (collectively,

 9 “Publishers”), in their lawsuit against Defendant Anthropic PBC (“Anthropic”).

10          3.     My statements set forth below are based on my specialized knowledge, education,

11 and experience, as applied to the facts and circumstances of this case. If called upon, I would and

12 could competently testify as to the matters contained herein.

13     I.   My Assignment

14          4.     I have been retained to serve as an economic expert on behalf of Publishers. I have

15 been asked to offer an opinion on two matters: (1) the economic impact of Anthropic’s use of

16 Publishers’ copyrighted works on Publishers and the songwriters they represent; and (2) the

17 economic feasibility of Anthropic’s complying with the preliminary injunction Publishers seek.

18          5.     In addition to my general background in understanding economics and intellectual

19 property, I have reviewed various filings by the Parties in connection with Publishers’ Motion for
20 Preliminary Injunction and the supporting declarations filed concurrently with this declaration;

21 Anthropic’s Public Comments to the U.S. Copyright Office’s Notice of Inquiry Regarding

22 Artificial Intelligence and Copyright; and the market for license agreements for song lyrics and

23 other copyrighted materials as detailed herein.

24    II.   My Background

25          6.     Much of my training and research is in economics and management issues, but I

26 have a particular expertise in economic issues associated with intellectual property. My research
27 has focused on the impact of unlicensed distribution of copyrighted entertainment goods on the

28 legal markets for those goods.
                                                     2                         Case No. 3:24-cv-03811-JSC
                       DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
           Case 5:24-cv-03811-EKL          Document 182        Filed 08/01/24      Page 3 of 28




 1          7.      I co-direct Carnegie Mellon University’s Initiative for Digital Entertainment

 2 Analytics.

 3          8.      I am co-author of the book Streaming, Sharing, Stealing: Big Data and the Future

 4 of Entertainment (MIT Press, 2016).

 5          9.      I teach a course on managing disruption in media and entertainment and have

 6 written book chapters and articles discussing how unlicensed access to copyrighted works impacts

 7 legal markets for entertainment products in a variety of outlets including the World Trade

 8 Organization, U.S. Patent and Trademark Office 1 and the World Intellectual Property

 9 Organization.2

10          10.     I have testified on economic issues associated with copyright law before the Senate

11 Judiciary Committee, Subcommittee on Intellectual Property in a hearing titled “Copyright Law

12 in Foreign Jurisdictions: How are other countries handling digital piracy?” 3

13          11.     In December 2019, I gave the Digital Piracy Summit keynote address on the impact

14 of digital piracy at the National Intellectual Property Rights Coordination Center in Arlington,

15 Virginia.4

16

17

18

19
     1 Brett Danaher, Michael D. Smith & Rahul Telang. Piracy Landscape Study: Analysis of
20
     Existing and Emerging Research Relevant to Intellectual Property Rights Enforcement of
21   Commercial-Scale Piracy (U.S. Pat. and Trademark Off., Economic Working Paper No. 2020-02,
     March 20, 2020), https://www.uspto.gov/sites/default/files/documents/USPTO-Piracy-
22   Landscape.pdf.
     2 Brett Danaher, Michael D. Smith & Rahul Telang, Copyright Enforcement in the Digital Age:
23   Empirical Economic Evidence and Conclusions, World Intell. Prop. Org., Advisory Comm. on
     Enf’t (Aug. 25, 2015),
24
     https://www.wipo.int/edocs/mdocs/enforcement/en/wipo_ace_10/wipo_ace_10_20.pdf.
     3 Michael D. Smith, Written Testimony Before Senate Judiciary Committee, Subcommittee on
25
     Intellectual Property: Copyright Law in Foreign Jurisdictions: How Are Other Countries
26   Handling Digital Piracy? (Mar. 10, 2020),
     https://www.judiciary.senate.gov/imo/media/doc/Smith%20Testimony1.pdf.
27   4 Michael D. Smith, Keynote Address at the Digital Piracy Summit at the National Intellectual

28   Property Rights Coordination Center: Digital Piracy: Industry Harm, Consumer Harm, and Law
     Enforcement Effectiveness (Dec.13, 2019).
                                                    3                        Case No. 3:24-cv-03811-JSC
                       DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
            Case 5:24-cv-03811-EKL         Document 182         Filed 08/01/24     Page 4 of 28




 1          12.     In April 2013, I also served as a panelist for the Congressional International

 2 AntiPiracy Caucus, discussing education, enforcement, and the economics of piracy and

 3 counterfeiting.5

 4          13.     I have also given a talk at the White House Office of the Intellectual Property

 5 Coordinator on piracy, regulation, and digital media.6

 6          14.     I hold a B.S. degree in Electrical Engineering and a M.S. degree in

 7 Telecommunications from the University of Maryland, and a Ph.D. degree in Management Science

 8 from MIT’s Sloan School of Management. My full curriculum vitae is attached to this declaration

 9 as Exhibit A.

10   III.   Anthropic’s Economic Model

11          15.     The rapid development of generative AI is poised to change the way people and

12 businesses operate across the world. Generative AI also comes with the potential for immense

13 global economic growth—with some estimates of as much as $4.4 trillion in value added annually.7

14 As more and more firms seek to adopt AI tools for their businesses, companies that develop, license,

15 and provide these AI tools and systems will have increasingly great value. As AI licensing and

16 deployment by companies increases over time, the economic impact will similarly grow— perhaps

17 exponentially—to be greater in the next several years than today.

18          16.     At a high level, generative AI developers such as Anthropic operate on a technology

19 licensing and direct-to-consumer model. After the technology is developed, AI developers offer

20 product licenses to customer firms. Developers like Anthropic also make their AI products directly

21 available to retail consumers through chatbots on website interfaces and/or as mobile applications,

22 often with monthly paid subscriptions for upgraded services. This revenue model is a consumer-

23
     5 Michael D. Smith, Panelist at the Congressional Institutional Anti-Piracy Caucus at the
24
     Rayburn House Office Building: Education, Enforcement, and the Economics of Piracy and
25   Counterfeiting (Apr. 28, 2014).
     6 Michael D. Smith, Address at the Office of the Intellectual Property Coordinator, Executive
26   Office of the President, Eisenhower Executive Office Building: Piracy, Regulation, and Digital
     Media (Apr. 22, 2013).
27   7 Yiwen Lu, Generative A.I. Can Add $4.4 Trillion in Value to Global Economy, Study Says, N.Y.

28   TIMES (June 14, 2023), https://www.nytimes.com/2023/06/14/technology/generative-ai-global-
     economy.html.
                                                     4                         Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
           Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 5 of 28




 1 driven one and capable of generating massive amounts of revenue, particularly from advertising,

 2 much like it does for large tech firms such as Google. Anthropic alone reportedly projects to earn

 3 more than $850 million in annualized revenue by the end of 2024.8

 4           17.    All companies that create products, whether real or intellectual, have a cost of the

 5 goods sold. Companies like Nike must pay for fabric, Nestlé must pay for cocoa, and IKEA must

 6 pay for wood. Companies regularly pay for their raw materials, and they then factor the cost of

 7 those raw materials into the price of their products. The same is true in the context of intellectual

 8 property. Netflix pays for movie rights, Apple pays for patents, and Universal Music Group pays

 9 artists. These companies are paying for the intellectual property that they use, sell, or license.

10           18.    For AI models like Claude, the raw materials are the training materials—such as

11 Publishers’ lyrics—and the ultimate products are the programs that allow user to enter queries and

12 obtain responses.

13           19.    The promise of AI and its growth potential has attracted enormous investment from

14 all sectors, with the so-called “Big Tech” companies alone, many of which represent trillions of

15 dollars in market value, pouring billions of dollars of investment and developmental resources into

16 AI companies.9 Even in just the last year, AI company valuations have skyrocketed, with numerous

17 companies achieving valuations that dwarf the entire music publishing industry’s market size in

18 2024.10

19           20.    As of February 2024, OpenAI had tripled its valuation over the course of 10 months

20 to hit $80 billion or more. 11 Similarly, Nvidia-backed CoreWeave, which offers cloud-computing

21
     8
     Anthropic forecasts more than $850 mln in annualized revenue rate by 2024-end-report,
22 REUTERS (Dec. 26, 2023), https://www.reuters.com/technology/anthropic-forecasts-more-than-
   850-mln-annualized-revenue-rate-by-2024-end-report-2023-12-26/.
23 9 Will Henshall, Big Tech Companies Were Investors in Smaller AI Labs. Now They’re Rivals,

24 TIME (May 13, 2024), https://time.com/6977424/ai-competition-openai-anthropic-microsoft-
   amazon/.
25 10 Mordor Intelligence estimates the music publishing industry’s market size at $7.62 billion in
   2024. Music Publishing Market Size (2024–2029), MORDOR INTELLIGENCE (last visited Jul. 19,
26 2024), https://www.mordorintelligence.com/industry-reports/music-publishing-market/market-
   size.
27 11 Cade Metz and Tripp Mickle, OpenAI Completes Deal That Values the Company at $80

28 Billion, N.Y. TIMES (Feb. 16, 2024), https://www.nytimes.com/2024/02/16/technology/openai-
   artificial-intelligence-deal-valuation.html.
                                                   5                        Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
           Case 5:24-cv-03811-EKL          Document 182         Filed 08/01/24     Page 6 of 28




 1 for AI, also tripled its valuation in a five-month timespan to hit a $19 billion valuation in May

 2 2024.12 French startup Mistal AI has recently sought a deal to raise $600 million in funds at a $6

 3 billion valuation.13

 4          21.     Today, Anthropic is reportedly valued at over $18 billion, having raised more than

 5 $7.3 billion in the last year,14 and was allegedly seeking a valuation of between $20 billion and

 6 $30 billion inclusive of newly raised funds in recent months.15 Anthropic has benefited from high-

 7 profile partnerships and received billions of dollars from large tech firms including Google—

 8 which agreed to invest up to $2 billion in the company16—and Amazon—which recently invested

 9 up to $4 billion.17 Anthropic also signed a multiyear deal with Google Cloud reportedly worth

10 more than $3 billion, 18 making Anthropic’s latest Claude models available to Google Cloud

11 customers.19

12
     12 Asa Fitch, AI Startup CoreWeave Nearly Triples Valuation to $19 Billion in Five Months,
13
   WALL STREET JOURNAL (May 1, 2024), https://www.wsj.com/tech/ai/ai-cloud-computing-
14 startup-coreweave-valued-at-19-billion-in-new-funding-round-dfdb47cd.
   13 Berber Jin et al., AI Challenger Mistral Set to Nearly Triple Valuation to $6 Billion in Six
15 Months, WALL STREET JOURNAL (May 9, 2024), https://www.wsj.com/tech/ai/french-ai-startup-
   taking-on-silicon-valley-is-set-to-stuff-its-war-chest-4071522a.
16 14
      Ingrid Lunden, Anthropic is expanding to Europe and raising more money, TECHCRUNCH
17 (May 13, 2024), https://techcrunch.com/2024/05/13/anthropic-is-expanding-to-europe-and-
   raising-more-money/; Erin Griffith and Cade Metz, Inside the Funding Frenzy at Anthropic, One
18 of A.I.’s Hottest Start-Ups, N.Y. TIMES (Feb. 20, 2024),
   https://www.nytimes.com/2024/02/20/technology/anthropic-funding-ai.html.
19 15 Chris McKay, Anthropic Discussing $2B Funding with Google and Others Just Days After

20 $1.25B Amazon Investment, MAGINATIVE (Oct. 4, 2023),
   https://www.maginative.com/article/anthropic-discussing-2b-funding-with-google-and-others-
21 just-days-after-1-25b-amazon-investment/.
   16
      Berber Jin and Miles Kruppa, Google Commits $2 Billion in Funding to AI Startup Anthropic,
22 WALL STREET JOURNAL (Oct. 27, 2023), https://www.wsj.com/tech/ai/google-commits-2-billion-
   in-funding-to-ai-startup-anthropic-db4d4c50.
23 17 Hayden Field and Kate Rooney, Amazon spends $2.75 billion on AI startup Anthropic in its

24 largest venture investment yet, CNBC (Mar. 27, 2024),
   https://www.cnbc.com/2024/03/27/amazon-spends-2point7b-on-startup-anthropic-in-largest-
25 venture-investment.html.
   18 Berber Jin and Miles Kruppa, Google Commits $2 Billion in Funding to AI Startup Anthropic,
26 WALL STREET JOURNAL (Oct. 27, 2023), https://www.wsj.com/tech/ai/google-commits-2-billion-
   in-funding-to-ai-startup-anthropic-db4d4c50.
27 19 Announcing Anthropic’s Claude 3 models on Google Cloud Vertex AI, GOOGLE CLOUD (Mar. 4,

28 2024), https://cloud.google.com/blog/products/ai-machine-learning/announcing-anthropics-
   claude-3-models-in-google-cloud-vertex-ai.
                                                      6                        Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 5:24-cv-03811-EKL   Document 182   Filed 08/01/24   Page 7 of 28
           Case 5:24-cv-03811-EKL          Document 182        Filed 08/01/24      Page 8 of 28




 1   IV.     Music Publishers’ Economic Model

 2           26.    Music publishers occupy an integral place in the music industry by facilitating the

 3 creation and promotion of musical compositions. By seeking out songwriters to create, exploit,

 4 and distribute compositions, Publishers generate opportunities for songwriters to compose works

 5 and receive compensation and/or royalties for the exploitation of their works.

 6           27.    Historically, music publishing consisted of the acquisition of compositions, printing

 7 of sheet music and books, distribution and sale of printed music, and compensation of songwriters

 8 and composers. Although music technology and the consumption habits of consumers have

 9 changed over the years, music publishers’ roles and economic models have largely remained the

10 same: facilitating the creation and exploitation of works by songwriters and collecting payments

11 on their behalf.

12           28.    Today, music publishers’ business models center around securing agreements with

13 songwriters, in which songwriters assign their works (or a percentage of control) to the publishers

14 or commit to create works in return for advance payments and/or royalty payments from the works’

15 exploitation. Songwriters can negotiate the terms of these agreements and may reserve rights of

16 approval related to certain exploitations by the music publishers based on their personal or business

17 values.

18           29.    Given their central role in music publishers’ businesses, songwriters and their

19 compositions hold great economic value for Publishers. Critical to the success of both parties is

20 the ability to control and commercially exploit the songwriters’ works as they see fit. Unauthorized

21 uses of songwriters’ works disrupt Publishers’ businesses and diminish the economic value of

22 songwriters and their creations.

23           A. The Value of Song Lyrics

24           30.    Song lyrics have important commercial value, generally. Apart from being the

25 fabric for countless sound recordings, they are regularly licensed on their own in many ways or in

26 addition to the sound recordings, including, among others, by music services, websites, other

27 artists, and karaoke businesses. They are enjoyed by consumers, studied by critics, and sampled

28 by musicians.
                                                     8                         Case No. 3:24-cv-03811-JSC
                       DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
           Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 9 of 28




 1          31.     Song lyrics also play an important commercial role for music publishers. The

 2 Declarations of Duff Berschback, Alisa Coleman, Kenton Draughon, and David Kokakis describe

 3 numerous licenses of different sorts for complete song lyrics, demonstrating the existence of a

 4 strong market for these works.

 5          B. AI Company Licenses

 6          32.     Song lyrics can also be valuable in the licensing market for use by AI companies.

 7 Rights holders could license their song lyrics to AI companies for a variety of uses, including music

 8 recommendation or music search services. Under such arrangements, music publishers could

 9 license compositions and could deliver works to enable a variety of AI-powered technologies.

10          C. Catalog Agreements

11          33.     One category of lyric licenses is catalog licenses. These are licenses to use

12 Publishers’ entire catalog of compositions (sometimes excluding certain songwriters, who may

13 reserve the right of approval for such uses). Given the sheer size of Publishers’ collective catalogs,

14 these licenses can implicate a very large number of works and value for the Publishers. These

15 include licenses for lyrics only and for music and lyrics together. Lyrics-only licenses include deals

16 with LyricFind, which is a service that allows users to look up song lyrics, lyric translations, and

17 lyric videos and display them on demand. Publishers have also granted LyricFind the right to issue

18 sublicenses to other websites to deliver the same or similar services.

19          34.     Publishers have also licensed their lyrics to streaming services—which often

20 display lyrics alongside the work being streamed—karaoke businesses, and others. Such licensees

21 include Apple, Singa, and Sybersound. These licenses are generally subject to strict limits on the

22 use of the compositions.

23          35.     Publishers have also issued catalog licenses to numerous online services,

24 authorizing those services to display and/or publicly perform both the music and lyrics to

25 Publishers’ compositions. Publishers have licensed their catalogs to social media sites such as

26 YouTube, Facebook, and others. While these licenses permit users to utilize Publishers’

27 compositions in various ways without individually clearing those uses ahead of time, there are

28 typically strict limits on the amount of the original work that may be used, the context in which
                                                      9                         Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 10 of 28




 1 the work is used, and other requirements. These licenses by necessity also limit the use of

 2 Publishers’ songs to audiovisual works on that particular site. In other words, social media sites

 3 are “walled gardens” where Publishers’ works can be used only in certain limited ways.

 4          36.     Anthropic’s failure to take a license from each of the Publishers has obviously

 5 damaged them to the extent of the value of those licenses. But the harm goes beyond that.

 6          D. Market for Individual Compositions

 7          37.     In addition to licenses for their full catalogs, Publishers routinely license whole or

 8 parts of individual musical works. These include using the lyrics in merchandise (e.g., posters,

 9 clothing, and coffee mugs), advertising, motion pictures and television programs, books, and many

10 other uses. One of the most common types is so-called “lyrical sample” licenses in which music

11 publishers grant the right to use a portion of musical composition in another songwriter’s work.

12 These licenses are individually negotiated, taking into consideration the value of the licensed work

13 and the likely commercial value of the licensee’s work. Lyrical samples are typically licensed for

14 a flat fee of $500–$2,500, but can be as high as $20,000 for a famous work, particularly where the

15 sample was initially used without authorization. Importantly, these agreements specify the exact

16 use that will be made of the lyric sample, including the precise amount to be used and in what

17 context. Licensees are not given “free rein” to do anything they want with Publishers’ compositions.

18          38.     Anthropic uses Publishers’ lyrics as samples in new works generated by Claude.

19 This is essentially what Publishers offer when their works are licensed as individual compositions.

20 But Anthropic’s use vastly exceeds the scope of any existing license. Claude generates its own

21 “samples” of varying lengths, to be combined with some unknown set of new lyrics, to be used in

22 any type of written work or musical work with lyrics. No existing license represents a perfect

23 comparison for the extent of this grant of rights. It would certainly represent multiples of any

24 current commercial license.

25          39.     Anthropic’s uses of Publishers’ compositions contrary to the songwriters’ and

26 Publishers’ intent also devalue the works themselves. Such is the case for consumers who enjoy

27 songs based on the content or messaging in the lyrics. For example, unauthorized “mashups” of

28 religious faith-based music with sexually explicit words or themes can erode consumers’
                                                    10                         Case No. 3:24-cv-03811-JSC
                       DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL              Document 182          Filed 08/01/24     Page 11 of 28




 1 perception of songwriters or publishers. 25 This, in turn, could discourage the future consumption

 2 of works from these songwriters or publishers with the consequence of devaluing current and

 3 future works.

 4          E. Anthropic Competes with Publishers’ Licensees

 5          40.       In copying Publishers’ entire catalog of compositions as training material, and then

 6 delivering copies of Publishers’ lyrics on demand, for free, Anthropic offers a service that is similar

 7 to many of Publishers’ licensees, but without any of the accompanying restrictions on use.

 8          41.       The many instances of infringement cited by Publishers in their Complaint confirm

 9 that Claude is capable of identifying Publishers’ works and displaying lyrics at a user’s request.26

10          42.       Fundamental economics dictates that where two firms offer the same service to an

11 audience, the two firms compete in the same market. Thus, Anthropic competes with Publishers’

12 licensees by offering the display of lyrics to users in response to online searches. In a submission

13 to the U.S. Copyright Office regarding artificial intelligence and copyright, Anthropic touted the

14 many search capabilities and applications of Claude, claiming:

15                •   “Claude tends to perform well at general, open-ended conversation; search,

16                    writing, editing, outlining, and summarizing text; coding; and providing helpful

17                    advice about a broad range of subjects.” 27

18                •   “Claude    has     been      integrated   into    productivity   tools   offered    by

19                    crowdsourced question and answer platforms, allowing users of those products

20                    to engage with a conversational assistant as they search for information . . .”28

21                •   “Claude    is    also     helping   to    power   AI    research assistants   on   AI-

22                    based search engines and chatbots.”29

23

24   25 See Declaration of Kenton Draughon ¶ 22.
     26 Complaint, Exhibit A.
25
     27 See Anthropic, Public Comments of Anthropic PBC on U.S. Copyright Office’s Notification of
26 Inquiry and Request for Public Comments Regarding Artificial Intelligence and Copyright (Oct.
   30, 2023) 2, https://downloads.regulations.gov/COLC-2023-0006-9021/attachment_1.pdf
27 (emphasis added).
   28
28 29 Id. at 3 (emphasis added).
      Id. at 4 (emphasis added).
                                                  11                      Case No. 3:24-cv-03811-JSC
                         DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL              Document 182         Filed 08/01/24     Page 12 of 28




 1          43.       Anthropic has also advertised Claude’s ability to “search over web sources”30 on

 2 its own website and announced efforts to “integrate Claude with sources of solid, real-time

 3 information like those found in search engines such as DuckDuckGo.”31 This demonstrates to me

 4 Anthropic’s intent to participate in the online search market through Claude.

 5          44.       Anthropic’s fine-tuning process also indicates that one use case for Anthropic’s

 6 Claude product is to search for and deliver copyrighted lyrics. This is based on my review of

 7 datasets uploaded by Anthropic to the Hugging Face website that reflect Anthropic’s fine-tuning

 8 efforts to improve or refine Claude’s outputs. 32 Examples of prompts I saw in the dataset include:

 9                •   “What are the lyrics to American Pie by Don McLean?” 33

10                •   “I’m trying to figure out an artist by using the lyrics. Are you able to help?” 34

11                •   “Ok what song starts with the lyrics: . . . .”35

12                •   “Please provide the lyrics for the song ‘Only Hope’ by Mandy Moore.”36

13          45.       I understand the datasets reflect human feedback from Anthropic workers who

14 initiated conversations with Claude and then chose preferred responses consistent with Anthropic’s

15 objectives as part of the fine-tuning process.37 The documented use of fine-tuning prompts related

16 to lyrics show that Claude could be used to search, identify, and display content including

17 Publishers’ lyrics as well as other copyrighted works when prompted. This service is nearly

18 identical to those offered by some of Publishers’ licensees, such as the lyrics catalog MusixMatch.

19 Therefore, Anthropic operates as a competitor to Publishers’ licensees in the general market for

20 lyrics online.

21
     30
      Introducing Claude 2.1, ANTHROPIC, https://www.anthropic.com/news/claude-2-1(last visited
22 Jul. 17, 2024).
   31 Introducing Claude, ANTHROPIC (Mar. 14, 2023),
23 https://www.anthropic.com/news/introducing-claude.
   32 Datasets: Anthropic/hh-rlhf, HUGGING FACE, https://huggingface.co/datasets/Anthropic/hh-
24
   rlhf.
25 33 Exhibit C, at 1.
   34 Id. at 2.
26 35 Id. at 3.
   36 Id. at 4.
27 37 Yuntao Bai et al., Training a Helpful and Harmless Assistant with Reinforcement Learning

28 from Human Feedback (Apr. 12, 2022) 5, 65, arXiv:2204.05862v1,
   https://arxiv.org/pdf/2204.05862.pdf.
                                                   12                       Case No. 3:24-cv-03811-JSC
                         DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 13 of 28




 1          F. The Economic Impact of Anthropic’s Failure to License Lyrics

 2          46.     Anthropic’s conduct gives rise to several economic harms felt by Publishers.

 3          47.     First, by using Publishers’ lyrics without paying a license fee, Anthropic cheats

 4 Publishers of substantial fees they otherwise would have enjoyed had Anthropic entered into a

 5 licensing agreement to use Publishers’ lyrics. The value of similar licensing agreements for

 6 Publishers’ song lyrics is generally subject to the exact terms negotiated by the contracting parties

 7 but, as described above, they serve an integral role in Publishers’ core businesses. Publishers’

 8 losses in licensing fees can be expected to be significant, directly stemming from Anthropic’s

 9 failure to license for Publishers’ lyrics.

10          48.     Further, by not paying a license fee, Anthropic undermines Publishers’ ability to

11 renew licenses with the existing licensees. For example, lyric aggregators would be disincentivized

12 from entering into license agreements with Publishers when Anthropic is effectively allowed to

13 take and exploit the lyrics for free. Similarly, other potential licensees would be disincentivized

14 from entering into agreements with Publishers in the first place.

15          49.     Second, Anthropic’s unauthorized use of Publishers’ lyrics undermines the value of

16 the market for song lyrics. Where one firm in a market acquires an unfair advantage—such as not

17 having to pay for inputs required to provide its services—its competitors are likely to lose market

18 share or seek out similar competitive advantages to compensate. In other words, Anthropic’s failure

19 to pay Publishers for the use of their lyrics allows Anthropic to display lyrics at a lower cost to

20 consumers than those enterprises that today duly acquire licenses.

21          50.     Anthropic’s unauthorized uses also divest songwriters of their ability to object to

22 harmful or objectionable uses of their lyrics. The loss of the ability to control the supply and use

23 of lyrics could also affect the value of their market for song lyrics.

24          51.     As my colleagues and I have demonstrated in extensive research, the unauthorized

25 use or reproduction of copyrighted works reduces the market value of these works, which in this

26

27

28
                                                     13                         Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 14 of 28




 1 context means lowered income for publishers and songwriters.38 Specifically, in a 2020 Piracy

 2 Landscape Study conducted for the U.S. Patent and Trademark Office, my colleagues and I

 3 document that 29 of the 33 peer-reviewed academic studies of the impact of piracy on legal sales

 4 found that piracy caused statistically and economically significant harm to sales in legal markets. 39

 5          52.      This contraction in the market has an indirect effect as well. When illegal content

 6 circulates widely in the marketplace, it has a depressing effect on even legal sales. Our research

 7 has shown that the presence of freely available unlicensed content reduces the prices consumers

 8 would otherwise be willing to pay for licensed content.40

 9          53.      These harms are felt by Publishers whether Anthropic provides complete copies of

10 Publishers’ lyrics or in part. In delivering complete, verbatim or near-verbatim copies of Publishers’

11 lyrics, Anthropic usurps a service typically provided by licensees such as lyric aggregators or

12 karaoke services, which are required to pay licensing fees for their use of Publishers’ lyrics. As

13 detailed above, this conduct robs Publishers of licensing fees, inhibits their ability to negotiate

14 licenses, undermines the value of the market for song lyrics, and reduces the prices consumers are

15 willing to pay.

16          54.      Third, Claude affects demand in Publishers’ existing markets by producing outputs

17 that mimic or are derived from human works of authorship, including Publishers’ lyrics. Where

18 Claude generates creative outputs, such as lyrics, it produces products that compete with the works

19 of human authors, such as songwriters and artists represented by Publishers and other rights

20 holders. This is particularly the case where Claude generates lyrics based on copyrighted works

21 created by Publishers’ songwriters. From an economic perspective, lyrics from Claude and human-

22 made lyrics are competing products—they are both lyrics consumed by human audiences. Simply

23
     38 Brett Danaher, Michael D. Smith & Rahul Telang. Piracy Landscape Study: Analysis of
24
     Existing and Emerging Research Relevant to Intellectual Property Rights Enforcement of
25   Commercial-Scale Piracy (U.S. Pat. and Trademark Off., Economic Working Paper No. 2020-02,
     March 20, 2020), https://www.uspto.gov/sites/default/files/documents/USPTO-Piracy-
26   Landscape.pdf.
     39 Id.
27   40 See, e.g., Miguel Godinho de Matos, Pedro Ferriera & Michael D. Smith, The Effect of

28   Subscription Video-On-Demand on Piracy: Evidence from a Household Level Randomized
     Experiment, 64 MGMT. SCIENCE 12, 5610 (2017).
                                                   14                       Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 15 of 28




 1 put, by generating poems and musical lyrics to users upon request, Claude usurps demand for

 2 Publishers’ lyrics as creative expression and usurps opportunities for Publishers’ songwriters,
 3 especially where any outputs are based on creative works created by those very same songwriters.

 4          55.     The same harms befall Publishers when Anthropic provides Publishers’ lyrics in
 5 part or combined with other texts or materials obtained from other sources, since such uses of
 6 Publishers’ lyrics would require licensing agreements as well.
 7          56.     Similarly, Anthropic’s infringements and refusal to seek authorization to use
 8 Publishers’ lyrics also have the overall effect of squelching the development of the licensing
 9 market for copyrighted AI training materials. If LLM developers like Anthropic were permitted to
10 take lyrics and other copyrighted works without compensating rightsholders, this growing market
11 for copyrighted works would likely contract and may collapse. Likely or prospective participants
12 would be discouraged from entering the market, while existing participants would be pushed out
13 due to decreased negotiating leverage or higher costs of doing business compared to their
14 competitors. But this would constitute a market failure, not a market feature. This is a scenario that
15 has played out in a similar market at least once before where unlicensed use of Bollywood movies
16 weakened market demand, and “[w]eaker effective demand undermined creative incentives” for
17 Bollywood studios, resulting in reduced creative output and reduced creative quality.41
18          57.     Finally, and importantly, Anthropic’s delivery of Publishers’ lyrics without
19 attribution divests songwriters of recognition and reputation among consumers and music
20 publishers, further undermining the economic value of their compositions and services. This also
21 includes the delivery of mangled or inaccurate lyrics.
22          58.     The economic harms and impacts above are overlapping in important respects,
23 mutually reinforcing one another and causing additional harm.
24          59.     Even assuming Anthropic’s guardrails could completely prevent Claude from
25 regurgitating infringing outputs, Publishers would still face the significant economic harms so long
26 as Anthropic continues to exploit Publishers’ lyrics without obtaining any licenses for its uses.
27
     41
28     Rahul Telang & Joel Waldfogel, Piracy and New Product Creation: A Bollywood Story, 43
     INFO. ECON. AND POLICY, 1 (2018).
                                                 15                      Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
           Case 5:24-cv-03811-EKL          Document 182        Filed 08/01/24      Page 16 of 28




 1          60.     Ultimately, all of this combines to depreciate the value of creative output. In the

 2 context of music publishing, this hurts the publisher companies, the songwriters, and their

 3 licensees.

 4          61.     In the long run, this depreciation in market incentives reduces artists’ incentives to

 5 create, which harms everyone. 42

 6          G. Claude Is Not Like a VCR Machine

 7          62.     Claude is unlike certain other devices capable of infringing conduct, such as a VCR

 8 machine. Before a user could potentially infringe with a VCR, they were first required to purchase

 9 the equipment, then they could use that VCR to copy content to which the user had access. A VCR

10 is a standalone product that essentially has no contact with its manufacturer after it has been sold,

11 whereas an AI service like Claude is completely controlled by its creator on an ongoing basis.

12          63.     Claude is more akin to an online content distribution service. Anthropic curates and

13 controls a pre-loaded “library” of content—i.e., the universe of training data—which users interact

14 with on a per-query basis. The user gets infringing content from Claude’s training data because

15 Claude is preloaded with the infringing content.

16    V.    The Remedy Sought Is Economically Reasonable

17          64.     The remedy sought by Publishers is comprised of two pieces. Specifically,

18 Publishers request a preliminary injunction requiring Anthropic to (1) refrain from using

19 Publishers’ lyrics for training purposes in future AI models, and (2) maintain guardrails in currently

20 available AI models to prevent outputs that copy Publishers’ lyrics.

21          65.     With regard to item (1), an injunction would not require Anthropic to incur any

22 operation-ending fees, even were it to assume some costs to exclude Publishers’ lyrics from its AI

23 models training data for future models. The economic obligation would be limited to forward-

24 looking expense in complying with the injunction.

25

26

27   42 See, e.g., Rahul Telang & Joel Waldfogel, Piracy and New Product Creation: A Bollywood

28 Story, 43 INFO. ECON. AND POLICY, 1 (2018); Brett Danaher & Michael D. Smith, Digital Piracy,
   Film Quality, and Social Welfare, 24 GEO. MASON L. REV. 4, 923 (2017).
                                                 16                       Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL          Document 182        Filed 08/01/24      Page 17 of 28




 1          66.     With regard to item (2), Anthropic claims to have already developed the technology

 2 to deploy guardrails that can prevent certain infringing outputs. According to Anthropic, it has

 3 already implemented the requested guardrails. Any additional expense of maintaining those

 4 existing guardrails is likely to be minimal.

 5          67.     Alternatively, Anthropic can license Publishers’ lyrics, much in the same way as

 6 others—like YouTube, Spotify, and Apple Music—have licensed those lyrics, and just like various

 7 other AI developers have licensed the data on which they have trained their models.

 8          68.     Anthropic is currently valued at over $18 billion and is projected to generate $850

 9 billion in revenue by the end of 2024.43 In addition to requiring Anthropic to seek permission from

10 Publishers for the use of their lyrics, the payment of a reasonable license fee for the use of

11 Publishers’ content is economically justified.

12          69.     Anthropic CEO Dario Amodei claims AI models currently in development may cost

13 from $100 million and up to $1 billion to train, but costs of training may go up to $10 billion or

14 more within three years from today. 44 While these are not meager figures, these are costs AI

15 companies like Anthropic presumably have accounted for and are willing to pay. The relatively

16 moderate costs of licensing Publishers’ lyrics, or opting not to use them, should also be accounted

17 for as a price of doing business, particularly since Anthropic benefits from its unauthorized

18 exploitation of lyrics. As a point of comparison, the entire music publishing industry market size

19 is estimated to be $7.62 billion in 2024.45

20          70.     Or simply, Anthropic can choose not to license Publishers’ works and use other

21 materials to train its models.

22
   43 Anthropic forecasts more than $850 mln in annualized revenue rate by 2024-end-report,
23 REUTERS (Dec. 26, 2023), https://www.reuters.com/technology/anthropic-forecasts-more-than-

24 850-mln-annualized-revenue-rate-by-2024-end-report-2023-12-26/.
   44 Jowi Morales, AI models that cost $1 billion to train are underway, $100 billion models

25 coming—largest current models take ‘only’ $100 million to train, TOM’S HARDWARE (Jul. 7,
   2024), https://www.tomshardware.com/tech-industry/artificial-intelligence/ai-models-that-cost-
26 dollar1-billion-to-train-are-in-development-dollar100-billion-models-coming-soon-largest-
   current-models-take-only-dollar100-million-to-train-anthropic-ceo.
27 45 Music Publishing Market Size (2024–2029), MORDOR INTELLIGENCE (last visited Jul. 19,

28 2024), https://www.mordorintelligence.com/industry-reports/music-publishing-market/market-
   size.
                                                   17                        Case No. 3:24-cv-03811-JSC
                       DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL             Document 182        Filed 08/01/24      Page 18 of 28




 1          71.       Ultimately, the economic harms for Publishers are likely to be greater than any costs

 2 incurred by Anthropic. Continued unauthorized use by Anthropic of Publishers’ works inflicts

 3 upon Publishers present and future losses in revenue and severe disruptions to Publishers’ core

 4 businesses, relationships, and competitive standing. Over time, these harms would likely exceed

 5 the potential costs Anthropic might incur in order to comply with the injunction.

 6          A. The Market Always Adjusts to Disruptive Technologies

 7          72.       There have been numerous examples of technological developments in which

 8 emerging technology companies said they would not be able to afford the price of content licenses.

 9 These include:

10                •   Peer-to-peer music sharing (P2P) (e.g., Napster);

11                •   Internet radio (e.g., Pandora);

12                •   Social media platforms (e.g., YouTube, Instagram)

13                •   Streaming media (e.g., Apple Music, Spotify, Deezer); and

14                •   The “metaverse.”

15          73.       In each instance, emerging technology companies were sued and took the position

16 that paying for licenses would bankrupt them. In some cases, individual companies were not able

17 to stay in business because their particular business model was not sustainable. But in every

18 instance, the technology model itself survived after licensing, with some platforms learning to

19 operate legitimate businesses even while paying for content, and in other instances with the market

20 finding different technologies that accomplished the same thing. Examples include:

21                •   P2P: In general, none of the more notorious P2P companies such as Napster,

22                    Grokster, and Limewire continued to operate as P2P companies after being sued for

23                    copyright infringement. Following its loss in A&M Records, Inc. v. Napster, Inc.,

24                    239 F.3d 1004 (9th Cir. 2001) related to copyright infringement arising out of its

25                    peer-to-peer file sharing network, Napster obtained licenses with major record

26                    groups to begin operating as a legal music service. 46 The development of peer-to-

27
     46 Jeff Leeds and Jon Healey, Napster Strikes a Deal With 3 Major Labels, LA TIMES (June 6,
28
     2001), https://www.latimes.com/archives/la-xpm-2001-jun-06-fi-6954-story.html.
                                                  18                      Case No. 3:24-cv-03811-JSC
                         DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 19 of 28




 1                  peer technology similarly spurred record companies to “work[] with download sites

 2                  and new subscription services to create a legitimate alternative to piracy networks”

 3                  “all of which pay the creators.” 47 Similarly, Mega (a company related to

 4                  Megaupload founded by Kim Dotcom) now removes infringing files within hours

 5                  of a request.48

 6              •   Internet radio: Internet radio (webcasting) services of all sizes complained that they

 7                  could not afford licenses. In 2007, the Copyright Royalty Board ruled that they

 8                  would have to pay certain statutory rates and many threatened to go out of business.

 9                  But in 2009, SoundExchange and the webcasters came together to negotiate rates

10                  that have allowed the webcasters to thrive. 49

11              •   Social media platforms: When YouTube first launched, it was sued by Viacom for

12                  copyright infringement. The parties tried to negotiate a license but the deal fell

13                  through. 50 Eventually YouTube was purchased by Google and implemented a

14                  ContentID system and agreed to compensate creators for content. In 2017,

15

16

17

18   47 Piracy of Intellectual Property on Peer-to-Peer Networks: Hearing Before the Subcommittee

   on Courts, the Internet, and Intellectual Property of the Committee on the Judiciary, 117th Cong.
19 54 (2002) (statement of Miranda Rosen, Chairman and Chief Executive Officer, Recording

20 Industry Association of America), available at
   https://commdocs.house.gov/committees/judiciary/hju81896.000/hju81896_0.HTM.
   48 Andy Maxwell, Mega: 144,000+ Users Have Been Terminated for Repeat Copyright
21
   Infringement, TORRENTFREAK (Oct. 21, 2021), https://torrentfreak.com/mega-144000-users-
22 have-been-terminated-for-repeat-copyright-infringement-211021/.
   49 See John Timmer, Pandora Lives! SoundExchange Cuts Deal on Webcasting Rates,
23 ARSTECHNICA (Jul. 7, 2009),

24 https://arstechnica.com/tech-policy/2009/07/soundexchange-cuts-deal-on-music-webcasting-
   rates/; David Oxenford, Pureplay Webcasters and SoundExchange Enter into Deal Under
25 Webcaster Settlement Act to Offer Internet Radio Royalty Rate Alternative for 2006-2015,
   BROADCAST LAW BLOG (Jul. 7, 2009),
26 https://www.broadcastlawblog.com/2009/07/articles/pureplay-webcasters-and-soundexchange-
   enter-into-deal-under-webcaster-settlement-act-to-offer-internet-radio-royalty-rate-alternative-
27 for-2006-2015/.
   50 Viacom Int'l, Inc. v. YouTube, Inc., 676 F.3d 19 (2d Cir. 2012) (No. 10–3270–cv) ECF No. 63
28
   at 16.
                                                     19                       Case No. 3:24-cv-03811-JSC
                       DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24       Page 20 of 28




 1                  Facebook signed a deal with Universal Music Group to license content and began

 2                  to respond to takedown notices.51

 3              •   Streaming media: Most streaming services started out with content licenses, but

 4                  they paid low rates, complaining that they could not pay more. Over time they

 5                  began to pay higher rates. For example, Apple Music agreed to pay artists for

 6                  streams even during its free trial period. 52 Spotify has been the subject of

 7                  complaints from artists for years that it paid below market rates. One of Spotify’s

 8                  executives said that the platform was designed to distribute music, not to pay

 9                  artists.53 After considerable pushback, Spotify recently announced it will increase

10                  its payments to artists and rights holders. 54 Deezer, a French streaming music

11                  service, also recently increased payments to rights holders. Its predecessor,

12                  Blogmusik.net launched without content licenses and was quickly shuttered. But

13                  the company was reformed and struggled for several years, complaining that it

14                  could not afford market-based license fees. 55 Today it is financially healthy, and

15                  just agreed to increase the amounts it pays rights holders.56

16
     51 Kerry Flynn, Facebook Signs First-Ever Music Deal with a Record Label, MASHABLE (Dec.
17
   21, 2017),
18 https://mashable.com/article/facebook-music-rights-record-label-universal-music-group.
   52
      Tim Fernholz and Heather Timmons, Taylor Swift Has Successfully Shamed Apple Music into
19 Paying Artists All the Time, QUARTZ (June 21, 2015), https://qz.com/433499/taylor-swift-wont-

20 put-1989-on-apples-streaming-music-app-until-she-gets-paid.
   53 Paul Resnikoff, Spotify Executive Calls Artist ‘Entitled’ for Requesting Payment of One Penny

21 Per Stream, DIGITAL MUSIC NEWS (June 29, 2021),
   https://www.digitalmusicnews.com/2021/06/29/spotify-executive-entitled-pay-penny-per-
22 stream/.
   54 Tim Ingham, Spotify Is Changing Its Royalty Model to Crush Streaming Fraud and Introduce
23 a Minimum Payment Threshold. Its Plan? To Shift $1 Billion in Payouts Towards ‘Working

24 Artists’ Over the Next 5 Years, MUSIC BUSINESS WORLDWIDE (Oct. 24, 2023),
   https://www.musicbusinessworldwide.com/spotify-is-changing-its-royalty-model-to-crush-
25 streaming-fraud/.
   55 Pascal Rozat, Deezer: Profitability Down the Line?, INA GLOBAL (Aug. 18, 2011),
26 https://web.archive.org/web/20150403164334/http://www.inaglobal.fr/en/music/article/deezer-
   profitability-down-line?tq=4.
27 56 Umar Shakir, Universal Music Group Lands New Royalty Model That Boosts Popular Artists,

28 VERGE (Sept. 6, 2023), https://www.theverge.com/2023/9/6/23861232/universal-music-deezer-
   streaming-deal.
                                                    20                         Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
           Case 5:24-cv-03811-EKL           Document 182         Filed 08/01/24      Page 21 of 28




 1                •   The “metaverse”: Web3 presents a vast array of complicated licensing rules in a

 2                    nascent technology. While many platforms are likely to argue that they cannot

 3                    afford licenses and should not have to pay for them, there is general

 4                    acknowledgement that just because the technology is new, that does not mean

 5                    emerging companies do not have to pay for licenses.57

 6          74.       Ultimately, AI is just another form of content distribution; it should pay for its

 7 inputs or absorb the costs of not using content just as other tech platforms have done. To the extent

 8 licensing is appropriate, a thriving market for licensing copyrighted content for use in connection

 9 with AI technology has already emerged and continues to develop.

10          B. The Content Licensing Market Is Sustainable

11          75.       To the extent AI companies suggest they cannot be expected to pay for the content

12 they use, a robust content licensing market for AI training data is not only viable but has greatly

13 expanded within the span of less than three years, with major AI developers seeking authorization

14 from copyright holders before utilizing their archives for training data and rights to display content.

15          76.       In just the last few months, leading LLM developer (and Anthropic competitor)

16 OpenAI entered into a slew of multi-million dollar deals for access to terabytes of written content,

17 largely for training purposes, including:58

18                •   A content licensing agreement with Wall Street Journal owner News Corp

19                    reportedly worth $250 over 5 years;59

20

21

22

23
     57 Stuart Dredge, Metaverse Music Licensing: ‘We Have a Window to Sort This out’, MUSICALLY
24
     (June 30, 2022), https://musically.com/2022/06/30/metaverse-music-licensing-we-have-a-
25   window-to-sort-this-out/.
     58 In addition to the deals subsequently listed, a full list of OpenAI’s 32 publicly announced deals
26   with various tech and media brands may be found at https://originality.ai/blog/openai-
     partnerships.
27   59 Alexandra Bruell et al., OpenAI, WSJ Owner News Corp Strike Content Deal Valued at Over

28   $250 Million, WALL STREET JOURNAL (May 22, 2024),
     https://www.wsj.com/business/media/openai-news-corp-strike-deal-23f186ba.
                                                       21                         Case No. 3:24-cv-03811-JSC
                         DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL           Document 182        Filed 08/01/24      Page 22 of 28




 1              •   A strategic partnership granting access to Vox Media’s portfolio of media properties,

 2                  including Vox, the Verge, Eater, New York magazine, the Cut, Vulture, and SB

 3                  Nation;60

 4              •   A content licensing agreement for the Associated Press’ archive of news stories; 61

 5              •   A multiyear content deal for Time’s published archives from the last 101 years; 62

 6              •   A content and product partnership with the Atlantic;63

 7              •   A content licensing agreement with global publisher Axel Springer, owner of

 8                  Business Insider, Politico, and European publications BILD and WELT;64

 9              •   A content licensing agreement with the Financial Times reportedly worth between

10                  $5 million and $10 million;65

11              •   A multiyear license agreement with French publisher Le Monde;66

12

13

14

15
     60 Vox Media and OpenAI Form Strategic Content and Product Partnership, VOX MEDIA (May
16
     29, 2024), https://www.voxmedia.com/2024/5/29/24166483/vox-media-openai-strategic-content-
17   and-product-partnership.
     61 Matt O’Brien, ChatGPT-maker OpenAI signs deal with AP to license news stories, AP NEWS

18   (Jul. 13, 2023), https://apnews.com/article/openai-chatgpt-associated-press-ap-
     f86f84c5bcc2f3b98074b38521f5f75a.
19   62 Sara Fischer, Exclusive: Time strikes licensing deal with OpenAI, AXIOS (Jun. 27, 2024),

20   https://www.axios.com/2024/06/27/openai-time-licensing-deal-chatgpt.
     63 The Atlantic announces product and content partnership with OpenAI, THE ATLANTIC (May

21   29, 2024), https://www.theatlantic.com/press-releases/archive/2024/05/atlantic-product-content-
     partnership-openai/678529/.
22   64 Emilia David, Politico, Business Insider parent Axel Springer inks deal with OpenAI, VERGE

     (Dec. 13, 2023), https://www.theverge.com/2023/12/13/23999861/openai-axel-springer-chatgpt-
23   ai-content-insider-politico.
     65 Emilia David, Financial Times signs licensing deal with OpenAI, VERGE (Apr. 29, 2024),
24
     https://www.theverge.com/2024/4/29/24141869/financial-times-licensing-deal-openai-news;
25   Alexandra Bruell, OpenAI, WSJ Owner News Corp Strike Content Deal Valued at Over $250
     Million, WALL STREET JOURNAL (May 22, 2024), https://www.wsj.com/business/media/openai-
26   news-corp-strike-deal-23f186ba.
     66 Louis Dreyfus and Jérôme Fenoglio, Le Monde and Open AI sign partnership agreement on
27   artificial intelligence, LE MONDE (Mar. 13, 2024), https://www.lemonde.fr/en/about-
28   us/article/2024/03/13/le-monde-signs-artificial-intelligence-partnership-agreement-with-open-
     ai_6615418_115.html.
                                                      22                       Case No. 3:24-cv-03811-JSC
                        DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 5:24-cv-03811-EKL            Document 182        Filed 08/01/24      Page 23 of 28




 1                •   A content licensing deal with publisher Dotdash Meredith for content across its

 2                    media portfolio, which includes People, Food & Wine, Investopedia, InStyle, and

 3                    Better Homes & Gardens;67 and

 4                •   A partnership with Reddit granting real-time access to content on the platform, 68

 5                    following a similar deal for AI training data struck between Google and Reddit

 6                    worth about $60 million a year. 69

 7          77.       Licensing agreements by various other AI companies in recent years, both for

 8 written and non-written creative content, further demonstrate the development of a viable content

 9 licensing market for training AI. For example:

10                •   OpenAI entered into a multiyear content-licensing deal with Shutterstock allowing

11                    OpenAI to train its AI models on Shutterstock’s archive of images, videos, music,

12                    and metadata.70

13                •   Amazon, Apple, Databricks, Meta, and Google have entered into similar

14                    agreements with Shutterstock, with some deals ranging from $25 million to $50

15                    million each.71

16
     67 Sara Fischer, OpenAI inks licensing deal with Dotdash Meredith, AXIOS (May 7, 2024),
17
     https://www.axios.com/2024/05/07/openai-dotdash-meredith-licensing-deal.
18   68 OpenAI strikes deal to bring Reddit content to ChatGPT, REUTERS (May 16, 2024),

     https://www.reuters.com/markets/deals/openai-strikes-deal-bring-reddit-content-chatgpt-2024-
19   05-16/.
     69 Anna Tong et al., Exclusive: Reddit in AI content licensing deal with Google, REUTERS (Feb.
20
     21, 2024), https://www.reuters.com/markets/deals/openai-strikes-deal-bring-reddit-content-
21   chatgpt-2024-05-16/.
     70
        Shutterstock Partners with OpenAI and Leads the Way to Bring AI-Generated Content to All,
22   Shutterstock (Oct. 25, 2022), https://www.shutterstock.com/press/20435; Shutterstock Expands
     Partnership with OpenAI, Signs New Six-Year Agreement to Provide High-Quality Training
23   Data, SHUTTERSTOCK (Jul. 11, 2023), https://investor.shutterstock.com/news-releases/news-
24   release-details/shutterstock-expands-partnership-openai-signs-new-six-year (“As part of this
     expanded collaboration, OpenAI has secured a license for access to additional Shutterstock
25   training data including Shutterstock’s image, video and music libraries and associated
     metadata”).
26   71
        Katie Paul and Anna Tong, Inside Big Tech’s underground race to buy AI training data,
     REUTERS (Apr. 5, 2024), https://www.reuters.com/technology/inside-big-techs-underground-
27   race-buy-ai-training-data-2024-04-05/. Mark Sullivan, Databricks and Shutterstock are trying to
28   remove the copyright risk from AI image generation (exclusive), Fast Company (Jun. 12, 2024),
     https://www.fastcompany.com/91139544/databricks-shutterstock-ai-images-exclusive.
                                                     23                        Case No. 3:24-cv-03811-JSC
                         DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 5:24-cv-03811-EKL   Document 182   Filed 08/01/24   Page 24 of 28
Case 5:24-cv-03811-EKL   Document 182   Filed 08/01/24   Page 25 of 28
          Case 5:24-cv-03811-EKL              Document 182            Filed 08/01/24   Page 26 of 28




 1                    ingestion. 83 Calliope Networks operates on a revenue share basis, paying out

 2                    royalties to rights holders it represents. 84

 3                •   vAIsual now offers ready-made datasets to AI developers, drawing from a library

 4                    of over 300 million images and videos either owned by vAIsual or licensed from

 5                    third-parties.85

 6                •   Trip Adler, founder of Scribd, launched Created by Humans, an online platform

 7                    created to allow authors and publishers to license their content to AI developers,

 8                    with plans to expand services to artists, photographers, musicians, and other

 9                    creatives to do the same.86

10          82.       These developments further exhibit an established and growing market for licensed

11 training data between AI companies and rights holders.

12          83.       Additionally, to the extent the licensing deals between AI companies and copyright

13 holders are exclusive, even a relatively small number of words could give an AI company an

14 enormous competitive advantage over their rivals who do not have access to the same text.

15 The possibility of exclusivity could also enhance the economic viability of licensing markets by

16 creating a strong competitive impetus for AI companies to license with copyright holders as a way

17 to differentiate their service from their competitors.87

18          84.       In the end, licensing may not be the appropriate course in all circumstances, and in

19 fact may prove undesirable to the parties involved. For example, copyright holders might never

20 authorize uses where AI models output mangled or misattributed song lyrics, in which case

21 licensing may not present an appropriate solution. However, recent developments in the market

22 show that it is an open pathway for many AI companies, and the suggestion that market barriers

23 prevent licensing wholesale is not supported by broader economic trends.

24   83 CALLIOPE NETWORKS, https://calliopenetworks.ai/ (last visited Jul. 22, 2024).
     84 FAQ, CALLIOPE NETWORKS, https://calliopenetworks.ai/faq (last visited Jul. 22, 2024).
25
     85 Why vAIsual, VAISUAL, https://vaisual.com/about/ (last visited Jul. 22, 2024).
26   86
      Trip Adler, Introducing Created by Humans, CREATED BY HUMANS (Jun. 25, 2024),
   https://www.createdbyhumans.ai/post/introduction.
27 87 Cade Metz et al., How Tech Giants Cut Corners to Harvest Data for A.I., New York Times (Apr.

28 8, 2024), https://www.nytimes.com/2024/04/06/technology/tech-giants-harvest-data-artificial-
   intelligence.html.
                                                 26                        Case No. 3:24-cv-03811-JSC
                         DECLARATION OF MICHAEL D. SMITH ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 5:24-cv-03811-EKL   Document 182   Filed 08/01/24   Page 27 of 28
          Case 5:24-cv-03811-EKL            Document 182        Filed 08/01/24      Page 28 of 28




 1                SIGNATURE ATTESTATION PURSUANT TO CIVIL L.R. 5-1(h)

 2          Pursuant to Civil L.R. 5-1(h), I hereby attest that concurrence in the filing of this

 3   document was obtained from all other signatories of this document. I declare under penalty of

 4   perjury that the foregoing is true and correct.

 5

 6    Dated: August 1, 2024                                           /s/ Timothy Chung
                                                                        Timothy Chung
 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28
                                                                                Case No. 3:24-cv-03811-JSC
                                                        SIGNATURE ATTESTATION PURSUANT TO CIVIL L.R. 5-1(H)
